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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION



UNITED STATES OF AMERICA,

                     Plaintiff,
                                                        Case No. 01-80361
vs.
                                                        HON. GEORGE CARAM STEEH
FREDERICK LAMARR MCCLOUD,

                Defendant.
____________________________/


 ORDER DENYING DEFENDANT’S MOTION TO COMPEL THE GOVERNMENT TO
             FILE A RULE 35(B), FED. R. CRIM. P. MOTION

       On September 24, 2001, defendant Frederick Lamarr McCloud pleaded guilty to

bank robbery, brandishing a firearm in furtherance of a crime of violence, using a

destructive device in furtherance of a crime of violence, and illegally possessing a firearm

after having been convicted of a felony. On August 16, 2006, after the United States Court

of Appeals for the Sixth Circuit remanded this matter for re-sentencing with instructions to

merge the crimes of brandishing a firearm and using a destructive device, this court

imposed a sentence of 23 years imprisonment. See Am. Judgment, No. 196. The United

States Court of Appeals for the Sixth Circuit affirmed this sentence on appeal. See United

States v. McCloud, No. 06-2268 (6th Cir. Feb. 15, 2008). Presently before the court is

defendant’s motion to compel the government to file a Rule 35(b) motion for sentence

reduction based on his testimony for the government in a 2009 prosecution in the United

States District Court for the Southern District of Mississippi. For the reasons that follow,

the court denies defendant’s motion to compel the government to file a Rule 35(b) motion.
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       Defendant testified for the prosecution in the case of United States v. Gavin, case

number 5:08cr00020-DCB-LRA, in the Southern District of Mississippi. The Assistant

United States Attorney (AUSA) in Mississippi promised defendant that if he testified

truthfully, she would recommend that the United States Attorney for the Eastern District of

Michigan consider filing a Rule 35(b) motion to reduce defendant’s sentence as a reward

for his assistance with the Mississippi prosecution. See Mot., Ex. C. While the AUSA

fulfilled her promise to make this recommendation, the criminal chief in this district declined

to file a Rule 35(b) motion. See Mot., Ex. B.

       This court has no authority to review the government’s decision not to file a Rule

35(b) motion unless the decision was based on an unconstitutional motive, such as race,

or because it was unconditionally promised in a plea agreement. See United States v.

Benjamin, 138 F. 3d 1069, 1073 (6th Cir. 1998). Defendant argues that the decision not

to file a Rule 35(b) motion was made in bad faith because the line AUSA was angry about

defendant’s conduct of filing liens against him and other federal employees. This court is

without authority to review a prosecutor’s refusal to file a substantial-assistance motion

when the refusal is based on the prosecutor’s bad faith. See United States v. Gates, 461

F. 3d 703, 711 (6th Cir. 2006). Therefore, defendant is not entitled to the relief sought in

the present motion.

       Accordingly,

       Defendant’s motion to compel the government to file Rule 35(b) motion [#239] is

DENIED.

       Defendant’s motion for entry of default judgment [#244] is MOOT.

       Defendant’s motion for default judgment [#245] is MOOT.

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      SO ORDERED.


Dated: March 28, 2012
                                          S/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE

                                CERTIFICATE OF SERVICE

                Copies of this Order were served upon defendant/ attorneys of
                    record and also to Frederick Lamarr McCloud at FCI
                  Beaumont Low, P.O.Box 26020, Beaumont, TX 77720 on
                     March 28, 2012, by electronic and/or ordinary mail.

                                    S/Josephine Chaffee
                                        Deputy Clerk




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